Account #:

Account Type:
Account Type - Detail:
Bureau Code:
Account Status:
Monthly Payment:
Date Opened:

Balance:

No. of Months (terms):

High Credit:
Credit Limit:
Past Due:
Payment Status:
Last Reported:

Comments:

Date Last Active:
Date of Last Payment:
Two-Year payment history

Month Mar Feb Jan Dec Nov

Year 22 22 22
TransUnion

Experian

Sep Aug Jul

12356**** 12356%"**
Installment Installment

Secured loan -

individual individual
Derogatory Derogatory
$0.00 $0.00
08/01/2015 08/01/2015
$7,629.00 $7,629.00
60 60
$12,358.00 $7,075.00
$0.00 $0.00
$7,629.00 $7.629.00
Collection/Chargeoff Coliection/Chargeoff
03/31/2022 03/01/2022
Charged off account

Unpaid batance reported as a toss by

the credit grantor. Amount in high credit original

charge-off amount
08/01/2020 07/01/2020
02/28/2020 07/01/2020

re
pes ae

Jun May Apr Mar Feb Jan Dec Nov Oct Sep Aug Jul Jun May Apr

21 210 62106210 0200 200 200 20 200 2020 28 20
